Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 1 of 59 PageID #: 2192




                        Exhibit 1
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 2 of 59 PageID #: 2193




  Beautiful Things Book
         Excerpts
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 3 of 59 PageID #: 2194
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 4 of 59 PageID #: 2195
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 5 of 59 PageID #: 2196
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 6 of 59 PageID #: 2197
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 7 of 59 PageID #: 2198
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 8 of 59 PageID #: 2199
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 9 of 59 PageID #: 2200
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 10 of 59 PageID #: 2201
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 11 of 59 PageID #: 2202
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 12 of 59 PageID #: 2203
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 13 of 59 PageID #: 2204
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 14 of 59 PageID #: 2205
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 15 of 59 PageID #: 2206
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 16 of 59 PageID #: 2207
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 17 of 59 PageID #: 2208
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 18 of 59 PageID #: 2209
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 19 of 59 PageID #: 2210
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 20 of 59 PageID #: 2211
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 21 of 59 PageID #: 2212
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 22 of 59 PageID #: 2213
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 23 of 59 PageID #: 2214
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 24 of 59 PageID #: 2215
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 25 of 59 PageID #: 2216
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 26 of 59 PageID #: 2217
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 27 of 59 PageID #: 2218
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 28 of 59 PageID #: 2219
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 29 of 59 PageID #: 2220
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 30 of 59 PageID #: 2221
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 31 of 59 PageID #: 2222
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 32 of 59 PageID #: 2223
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 33 of 59 PageID #: 2224
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 34 of 59 PageID #: 2225
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 35 of 59 PageID #: 2226
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 36 of 59 PageID #: 2227
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 37 of 59 PageID #: 2228
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 38 of 59 PageID #: 2229
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 39 of 59 PageID #: 2230
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 40 of 59 PageID #: 2231
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 41 of 59 PageID #: 2232
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 42 of 59 PageID #: 2233
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 43 of 59 PageID #: 2234
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 44 of 59 PageID #: 2235
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 45 of 59 PageID #: 2236
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 46 of 59 PageID #: 2237
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 47 of 59 PageID #: 2238
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 48 of 59 PageID #: 2239
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 49 of 59 PageID #: 2240
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 50 of 59 PageID #: 2241
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 51 of 59 PageID #: 2242
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 52 of 59 PageID #: 2243
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 53 of 59 PageID #: 2244
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 54 of 59 PageID #: 2245
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 55 of 59 PageID #: 2246
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 56 of 59 PageID #: 2247
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 57 of 59 PageID #: 2248
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 58 of 59 PageID #: 2249
Case 1:23-cr-00061-MN Document 119-1 Filed 05/14/24 Page 59 of 59 PageID #: 2250
